                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                            DOCKET NO. 3:09-cr-00052-W
 UNITED STATES OF AMERICA,                           )
                                                     )
                 Plaintiff,                          )
                                                     )
         vs.                                         )                   ORDER
                                                     )
 ANTHONY LEE MONROE,                                 )
                                                     )
                 Defendant.                          )
                                                     )

        THE MATTER is before the Court on the “Notice of Potential Scheduling Conflict” (Doc.

No. 106) filed by defense counsel. To the extent such “Notice” constitutes a motion to continue, it

is DENIED. This case has had a peremptory trial setting since July 6, 2009, and, since that time,

counsel has had constructive notice of the oral order, which appears on the docket sheet for the entire

case.

        IT IS SO ORDERED.

                                                  Signed: August 26, 2009




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